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  9
 10                          UNITED STATES DISTRICT COURT
 11                        CENTRAL DISTRICT OF CALIFORNIA
 12
      BACKGRID USA, INC., a California         Case No.: 2:22-cv-06176 HDV (SKx)
 13   corporation,                             Hon. Hernan D. Vera
 14
                      Plaintiff,               JOINT CASE MANAGEMENT
 15                                            STATEMENT PURSUANT TO JUNE
 16          v.                                23, 2023 ORDER (DKT. 37)

 17   SOURCE DIGITAL, INC., a New
 18   York corporation; THE NORTHSTAR
      GROUP, INC., a New York
 19   corporation; and DOES 1-10, inclusive,
 20
 21                   Defendants.
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                             JOINT CASE MANAGEMENT STATEMENT
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  1         Pursuant to the Court’s June 23, 2023 Order, the Parties submit the following
  2   Joint Case Management Statement:
  3         a. The case was filed on August 30, 2022.
  4         b. Plaintiff Backgrid USA, Inc., Defendants Source Digital Inc., The
  5             Northstar Group, Inc.1
  6         c. Backgrid brought this lawsuit against Defendants for copyright
  7             infringement. There are no counterclaims.
  8         d. Backgrid alleges that Defendants infringed Backgrid’s photographs on
  9             their websites.
 10         e. Backgrid served written discovery and a notice of deposition on July 6,
 11             2023. At the time the discovery schedule was under consideration, in early
 12             April, the mediation was contemplated as “early” mediation and the parties
 13             were unaware that the mediation session would not be scheduled until
 14             August. Defendant Source Digital, Inc. has requested that it receive an
 15             extension for all discovery so that it does not have to invest attorney’s fees
 16             in responding to it prior to mediation, which is scheduled for August 11,
 17             2023. Backgrid is generally agreeable to the idea of providing an
 18             extension but can only do so if the Court extends the discovery cutoff date
 19             and motion cutoff date. Both parties hereby request a continuance of these
 20             deadlines, as set forth below in paragraph (i).
 21         f. The Parties are scheduled to mediate this case with Gail Title on August
 22             11, 2023. Backgrid found two additional alleged infringements on Source
 23             Digital’s websites and has met and conferred with Source Digital about
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      1
        Source Digital claims that “The Northstar Group, Inc.” the named co-defendant in this case,
 26   is an unrelated entity that was named and served in error. Source Digital further claims that
      “The NorthStar Group” is used as an informal d/b/a bya group of affiliated entities, including
 27   Source Digital, but is not a legal entity. Backgrid has served some threshold discovery on the
      issue and upon receiving verified responses explaining the same, Backgrid will dismiss
 28   Northstar.
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                             JOINT CASE MANAGEMENT STATEMENT
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  1           amending the complaint to include them. If Source Digital does not
  2           stipulate to the amendment, Backgrid will file a motion for leave to amend.
  3        g. The Court issued the following deadlines:
  4           Trial: December 5, 2023
  5           Pretrial Conference: November 20, 2023
  6           Motion Cut-off Date: September 20, 2023
  7           Discovery Cut-off Date: September 6, 2023
  8           Last day to amend: May 8, 2023
  9        h. The Parties do not consent to a magistrate judge for trial.
 10        i. There is no immediate need for a case management conference, but the
 11           parties request a three-month continuance on the discovery cut-off, motion,
 12           and trial deadlines in order to preserve resources and facilitate settlement,
 13           including the mediation scheduled for August 11, 2023.
 14
 15
 16   Dated: July 10, 2023                         ONE LLP
 17
                                                    By: /s/ Joanna Ardalan
 18                                                     Joanna Ardalan
                                                        Peter R. Afrasiabi
 19
 20                                                       Attorneys for Plaintiff,
                                                          Backgrid USA, Inc.
 21
 22
      Dated: July 10, 2023                           SOURCE DIGITAL, INC.
 23
                                                         By: /s/ Matthew Abbott
 24
                                                                Matthew Abbott
 25
                                                         Attorney for Defendant,
 26
                                                         Source Digital, Inc.
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                                          3
                          JOINT CASE MANAGEMENT STATEMENT
